          ORAL ARGUMENT NOT YET SCHEDULED
                     No. 25-5057


       IN THE UNITED STATES COURT OF APPEALS
        FOR THE DISTRICT OF COLUMBIA CIRCUIT


                      GWYNNE A. WILCOX,

                         Plaintiff-Appellee,
                                 v.

DONALD J. TRUMP, in his official capacity as President of the
                 United States, et al.,

                      Defendants-Appellants.

         Appeal from the United States District Court for the
                 District of Columbia, No. 25-cv-334
                   The Honorable Beryl A. Howell


 BRIEF OF THE AMERICAN FEDERATION OF LABOR AND
CONGRESS OF INDUSTRIAL ORGANIZATIONS (AFL-CIO) AS
   AMICUS CURIAE IN OPPOSITION TO DEFENDANTS-
APPELLANTS’ EMERGENCY MOTION FOR A STAY PENDING
                     APPEAL
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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED
                       CASES


  A. Parties and Amici

  Except for the amici submitting this brief, all parties, intervenors,

and amici appearing before the district court and in this Court are

listed in the Government’s Emergency Motion for a Stay Pending

Appeal (“the Stay Motion”).

  B. Rulings Under Review

  A reference to the ruling at issue appears in the Stay Motion.

  C. Related Cases

  This case has not been before this Court. The Stay Motion mentions

“other related cases” involving challenges to the President’s removal

powers.

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                  INTEREST OF AMICUS CURIAE

     The American Federation of Labor and Congress of Industrial

Organizations (AFL-CIO) is the nation’s labor federation, composed of

63 affiliate unions representing 15 million working people. As a

federation of labor unions who depend on the National Labor Relations

Board (NLRB) to decide representation and unfair labor practice cases,

the AFL-CIO has an extremely strong interest in the NLRB’s ability to

complete its congressionally-delegated responsibilities. 1

                           INTRODUCTION

     The AFL-CIO files this brief in support of Appellee Gwynne A.

Wilcox’s opposition to Appellants’ motion for a stay pending appeal.

The AFL-CIO strongly agrees with Member Wilcox’s arguments with

regard to the merits and to irreparable harm. The AFL-CIO files this

brief solely to demonstrate that both remaining factors – “whether

issuance of the stay will substantially injure the other parties


1 No counsel for a party authored this brief in whole or in part, no party

or counsel for a party contributed money that was intended to fund
preparing or submitting this brief, and no person other than amicus or
their counsel contributed money that was intended to fund the
preparation or submission of this brief. As noted in the motion filed in
conjunction with this brief, all parties have consented to the filing of
this amicus brief.
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interested in the proceeding; and [] where the public interest lies.”

Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton v. Braunskill,

481 U.S. 770, 776 (1987)) – also strongly favor denial of a stay.

     Specifically, if the district court’s judgment is stayed, the NLRB

will be deprived of a quorum and the employees, employers, and unions

who rely on the NLRB to adjudicate their cases will be substantially

injured.

     A stay would also be strongly contrary to the public interest

expressed by Congress that it is “the policy of the United States” to

“protect[] the exercise by workers of full freedom of association, self-

organization, and designation of representatives of their own choosing,

for the purpose of negotiating the terms and conditions of their

employment.” 29 U.S.C. § 151.

     Indeed, in the short period that Member Wilcox was prevented

from lawfully exercising her functions, the NLRB has not only been

disabled from deciding serious unfair labor practice charges of great

significance to workers. The agency has been impeded in fulfilling even

its core ministerial functions—with several employers arguing that the

agency’s regional offices lacked authority to hold elections where


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workers’ voices in favor or against unionization might be heard. This

state of affairs seriously frustrates the public policy that favors workers’

“full freedom of association,” contrary to the public interest defined by

Congress.

                              ARGUMENT

     1. Granting of a stay in this case would deprive the National

Labor Relations Board of the three-member quorum it requires to

function. 29 U.S.C. § 153(b); New Process Steel, L.P. v. NLRB, 560 U.S.

674 (2010). Without a quorum, the Board cannot issue final orders in

unfair labor practice cases, see 29 U.S.C. § 160(c), 29 C.F.R. § 102.48,

and cannot rule on requests for review of regional director decisions in

representation cases, see 29 U.S.C. § 153(b), 29 C.F.R. § 102.67.

Granting a stay would thus significantly delay the resolution of cases

before the Board, substantially injuring the employees, employers, and

unions who depend on the Board to promptly decide such matters.

     There are many unfair labor practice cases currently pending

where depriving the NLRB of a quorum would result in substantial

injury to the party awaiting a Board decision if the District Court’s




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order is stayed. 2 Many of these cases involve the discharge of union

supporters in retaliation for forming a union. For instance, one

employer refused to appear for a single bargaining session with a

recently-certified union and instead terminated every single pro-union

employee after employees supported the union in an NLRB-supervised

election by a vote of 10-to-1. See Atlantic American Fire Prot. Co., Inc.,

No. 13-CA-309518, 2024 WL 2111055 (NLRB May 9, 2024) (ALJ

decision noting that company president testified that he fired employees

because it was “[his] job as the president to quell that insurrection and

put that rebellion down” and told employees that he could ignore the

NLRA because “this is America – I can do whatever the [expletive] I

want”); Grow OP Farms, No. 19-CA-309512, 2024 WL 5006828 (NLRB

Dec. 5, 2024) (ALJ decision finding employer unlawfully terminated two




2 All the decisions cited below were issued by the NLRB’s

administrative law judges (“ALJs”). Such decisions contain “findings of
fact, conclusions of law, and the reasons or grounds for the findings and
conclusions, and recommendations for the proper disposition of the
case,” 29 C.F.R. § 102.45(a), but are not binding on the parties. Only
the Board may render a final decision—enforceable by means of a
petition to a Court of Appeals, see 29 U.S.C. § 160(e)—that seeks to
remedy violations of the NLRA.
                                     4
union supporters in lead-up to election, coupled with threats of reprisal

and unlawful interrogation aimed at entire bargaining unit).

      Without prompt decisions from the NLRB, these fired workers

will suffer substantial injury and their coworkers will be chilled in the

exercise of their NLRA rights as they lose faith in the Board’s ability to

protect their right to organize and engage in collective bargaining

without retaliation. 3

     This concern is also acute in so-called “technical refusal-to-

bargain” unfair labor practice cases where the Board’s role is

ministerial but requires a quorum. There is no right to direct judicial

review of NLRB representation decisions. So an employer who wishes

to challenge such a decision “must refuse to bargain with the union,

suffer an unfair labor practice charge, and in challenging the charge

rely on the objections and corresponding evidence raised in the




3 While we focus on cases involving union members in light of the

NLRA’s central focus on collective bargaining, it bears noting that
individual workers who have been terminated in retaliation for
engaging in protected concerted activity also rely on the Board as their
only avenue of redress for unfair labor practices. See, e.g., Aqua Dental,
No. 16-CA-3551727, 2024 WL 3551727 (NLRB July 26, 2024) (worker
unlawfully terminated for asking questions about working conditions
and bonuses in a group setting).
                                     5
representation proceeding.” Wackenhut Corp. v. NLRB, 178 F.3d 543,

548 (D.C. Cir. 1999). Because the refusal to bargain is uncontested, the

role of the Board in such cases is ministerial; rather than proceeding to

a fact-finding hearing before an Administrative Law Judge, the NLRB

General Counsel files a motion for summary judgment directly with the

Board. In this way, the employer secures the “technical refusal-to-

bargain” unfair labor practice order it needs in order to petition for

review of the underlying representation case in the court of appeals.

     Without a quorum, the NLRB cannot perform even this routine

function and, as a result, employers can avoid their bargaining

obligation indefinitely depriving employees of their statutory right to a

representative of their own choosing and frustrating their desire to be

represented with the inevitable result of chilling the exercise of their

right to act collectively by support union representation. Several

technical refusal-to-bargain cases are already pending before the Board.

See, e.g., Portillo’s Hot Dogs, LLC, No. 13-CA-354045, available at

https://www.nlrb.gov/case/13-CA-354045 (pending since Dec. 20, 2024);

Transdev Servs., Inc., No. 05-CA-352917, available at

https://www.nlrb.gov/case/05-CA-352917 (pending since Jan. 14, 2025).


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Other employers are sure to follow suit if the Board is deprived of a

quorum. And, during the period when Member Wilcox was prevented

from occupying her office, several employers filed objections claiming

that NLRB regional offices lacked authority to even hold elections due

to the Board’s lack of quorum. Whole Foods Mkt. Grp., Inc., No. 04-RC-

355267, docket available at https://www.nlrb.gov/case/04-RC-355267;

Rhode Island CVS Pharmacy, L.L.C., No. 01-RC-339980, Request for

Review of RDs Decision and Order, available at

https://www.nlrb.gov/case/01-RC-339980.

     2. The certainty of such injuries and chilling effects if the NLRB is

deprived of a quorum demonstrates that the public interest is served by

the denial of a stay. Congress provided unions, employers, and

employees with rights under the NLRA and vested sole responsibility

for enforcing those rights with the NLRB. A court order preventing the

Board from exercising its delegated authority to enforce these rights

would clearly be contrary to the public interest as defined by Congress. 4


4 Appellants’ contention that the public interest lies in its favor because

“the public would be better served” if the NLRB were to regain its
quorum by “appointment by the President, with consent of the Senate,
of other individuals to fill the Board’s vacancies,” App. Br. 23, is not
well taken. First, this statement acknowledges that the President can
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     In enacting the NLRA, Congress declared “the policy of the United

States” to be “encouraging the practice and procedure of collective

bargaining and . . . protecting the exercise by workers of full freedom of

association, self-organization, and designation of representatives of

their own choosing, for the purpose of negotiating the terms and

conditions of their employment or other mutual aid or protection.” 29

U.S.C. § 151. See also NLRA § 7, 29 U.S.C. § 157 (setting forth the

substantive rights of employees). Yet, Congress did not provide a

private right of action, instead requiring any party whose rights are

violated to seek a remedy exclusively through the administrative

process.

     Delay in the vindication of these rights due to the NLRB’s loss of

quorum is no small matter. “[U]nlawful refusal of an employer to

bargain collectively with its employees’ chosen representatives disrupts

the employees’ morale, deters their organizational activities, and

discourages their membership in unions.” Franks Bros. Co. v. NLRB,



achieve an NLRB majority that “holds the President’s confidence,” id. at
24, without unlawfully removing Wilcox. Second, the public interest is
not served by rewarding the President for his own dilatory behavior,
i.e., not nominating members to the two vacant seats that could provide
him with a majority.
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321 U.S. 702, 704 (1944). Courts of appeals have long-recognized that,

if Board remedies are unduly delayed, “the chilling effect of

management retaliation” against the exercise of NLRA rights may not

be erased by “the curative effects of any remedial action the Board

might take[.]” Pascarell v. Vibra Screw, 904 F.2d 874, 878-79 (3d Cir.

1990) (cleaned up). “As time passes, the benefits of unionization are

lost and the spark to organize is extinguished. The deprivation to

employees from the delay in bargaining and the diminution of union

support is immeasurable.” NLRB v. Electro-Voice, Inc., 83 F.3d 1559,

1573 (7th Cir. 1996), cert. denied, 519 U.S. 1055 (1997).

     Even if the NLRB eventually regains its quorum, therefore, the

deprivations that result from delayed justice will not be easily

remedied. When an employer is allowed to “proceed in its quest to

defeat the Union before it becomes established . . . then merely

requiring the company to pay its employees damages after the fact will

not remedy the adverse impact to the Union and the employees in the

interim period.” Lineback v. Spurlino Materials, LLC, 546 F.3d 491,

501 (7th Cir. 2008). That is because actions such as discharging union

supporters “have an inherently chilling effect on other employees” that


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cannot be remedied long after the fact. Ahearn v. Jackson Hosp. Corp.,

351 F.3d 226, 239 (6th Cir. 2003); see also Frankl v. HTH Corp., 650

F.3d 1334, 1363 (9th Cir. 2011) (“[T]he discharge of active and open

union supporters risks a serious adverse impact on employee interest in

unionization and can create irreparable harm to the collective

bargaining process.”); Schaub v. West Michigan Plumbing & Heating,

Inc., 250 F.3d 962, 971 (6th Cir. 2001) (“the absence of the only union

organizer at the company for an extended period of time could

irreparably harm the union’s chances of organizing the employees”

(cleaned up)).

     Given the often time-sensitive need for parties to vindicate their

NLRA rights and the fact that the NLRB administrative procedure is

the exclusive means to do so, a stay that deprives the Board of the

quorum it needs to exercise its congressionally-delegated responsibility

to enforce the law is clearly contrary to the public interest.




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                          CONCLUSION

     The Court should deny Appellants’ motion.

Dated: March 11, 2025


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                   CERTIFICATE OF COMPLIANCE

  1. This brief complies with the type-volume limit of Fed. R. App. P.

     29(a)(5) because, excluding the parts of the document exempted by

     Fed. R. App. P. 32(f) this document contains 2,005 words.



  2. This document complies with the typeface requirements of Fed. R.

     App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P.

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     spaced typeface using Microsoft Word in Century Schoolbook 14-

     point font.

                                            /s/ Matthew Ginsburg


                                            Counsel for Amicus Curiae

Date: March 11, 2025




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                    CERTIFICATE OF SERVICE

      I hereby certify that on March 11, 2025, I electronically filed the
foregoing brief with the Clerk of the Court for the United States Court
of Appeals for the District of Columbia Circuit using the appellate
CM/ECF system.

      I further certify that the foregoing document was served on all
parties or their counsel of record through the appellate CM/ECF
system, as they are registered users.


                                              s/ Matthew Ginsburg

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Date: March 11, 2025




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